Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.241 Page 1 of 6
Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.242 Page 2 of 6
Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.243 Page 3 of 6
Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.244 Page 4 of 6
Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.245 Page 5 of 6
Case 2:08-cr-02092-RHW   ECF No. 73   filed 05/26/09   PageID.246 Page 6 of 6
